                               UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF MICHIGAN
                                      SOUTHERN DIVISION
In re:

ALISHIA S. BLEDSOE,                                          Chapter 13
                                                             Case No. 18-46072
                                                             Hon. Marci B. McIvor
                            Debtor.
                                                   /

                       Debtor’s Chapter 13 Confirmation Hearing Certificate

         At the next confirmation hearing in this case, the Debtor intends to:

         1. _X__ Request confirmation of the Debtor’s Plan, because all timely objections of
         creditors and the Trustee have been resolved. I have emailed to the Trustee a proposed
         order confirming the Plan, as required in paragraph 2 of the Chapter 13 Case
         Management Order.

         2.       Request confirmation of the Debtor’s Plan, even though all timely objections
         have not been resolved. I have emailed to the Trustee a proposed order confirming the
         Plan, as required in paragraph 2 of the Chapter 13 Case Management Order. The parties
         are at an impasse in attempting to resolve these objections despite all reasonable efforts.
         The following are: (a) the parties whose timely objections have not been resolved; (b)
         their unresolved objections; and (c) the legal and factual issues that must be resolved by
         the Court in connection with confirmation:

                   Trustee Objections:

                   Issue:

                   Resolution:

                   Creditors # 1:

         3.       Request an adjournment of the confirmation hearing to __________at ___am, due
         to the following good cause:

         4. ___ Dismiss the case. [The Court will construe this as a motion by the Debtor to
         dismiss the case under Fed.R.Bankr.P. 1017(f)(2), and the Court will enter an order of
         dismissal and the case will be removed from the docket, unless the case was previously
         converted from Chapter 7, 11, or 12 to Chapter 13. In that event, a separate motion to
         dismiss must be filed within 10 days.]
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        5. ___ Convert the case to Chapter 7. [The Debtor must promptly file a separate notice
        of conversion under Fed.R.Bankr.P. 1017(f)(3), and pay the filing fee for such notice.
        Such notice of conversion will cause the case to be converted without the entry of an
        order of conversion.]

                                            WOLFSON BOLTON PLLC

Date: June 25, 2018                         /s/ Michelle H. Bass
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